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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                               Newport News Division

CHIEF PETTY OFFICER
JAROME BELL (U.S. Navy-Ret.)
Virginia Beach, Virginia
as a natural person and a candidate for                            CIVIL
the UNITED STATES CONGRESS                                         COMPLAINT

                                   Plaintiff,
              v.

FACEBOOK, INC.
A Delaware corporation
c/o General Counsel Jennifer G. Newstead
1 Hacker Way                                                       Civil Action No.
Menlo Park, California, 94025
Serve: Commonwealth Service Company                               ___________________
       100 Shockoe Slip Floor 2
       Richmond, Virginia 23219

              and

MARK E. ZUCKERBERG
President and CEO of Facebook, Inc.                               TRIAL BY JURY
1601 Willow Road                                                  REQUESTED
Menlo Park, California 94025-1452

                                  Defendants.


                                          COMPLAINT

       Plaintiff JAROME BELL (U.S. Navy, Chief Petty Officer – Retired) brings this

Complaint against FACEBOOK, Inc. (“Facebook”) in the civil claims side of this Honorable

Court seeking injunctive relief, declaratory judgment relief clarifying and declaring the legal

rights and obligations of the parties to guide their future conduct, clarification of governing legal

rights and responsibilities, and monetary damages.




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       The Plaintiff sues for breach of contract, violations of the Virginia or California

Deceptive Trade Practices Act, breach of the implied duty of good faith and fair dealing, for

declaratory judgment, and for deprivation of the Plaintiff’s civil rights of free speech under 42

U.S.C. § 1983, under color of and flagrant abuse of a federal statute Section 230 of the

Communication Decency Act.

I.     INTRODUCTION

       Whether or not Facebook has become a public utility, it promised to be one in its explicit

contractual offers to users. Pretending to be a neutral communication platform for individuals to

communicate with each other one to one, in private groups large or small, in public groups, to

designated “friends,” or to the whole world, FACEBOOK, Inc. (“Facebook”) is in fact seeking to

control what people may think and say.

       Facebook advertises on its opening page (when not already logged in as a user):




       People are not invited to (it is not advertised), and do not, join Facebook to hear what


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       Facebook’s terms of service provide that California law applies, which is ultimately
worse for Facebook than Virginia law, but likely better than the laws of foreign nations.
Whereas other lawsuits have ignored the venue and choice of law provisions by rejecting
Facebook’s terms of service, this lawsuit argues that those terms of service create a binding
contract which Facebook has breached, causing damages to the Plaintiff Chief Bell.


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Facebook has to say. They are explicitly invited and promised to be able to talk to one another.

Facebook is not sold as a club, but as a communication system.

       No doubt if Mark Zuckerberg were to create a publication explaining his successful

business accomplishments and marketing techniques or to discuss modern trends in computer

system design, many people would sign up to listen to his views. But this is not that. Facebook

is very conspicuously not about what Mr. Zuckerberg or anyone at Facebook has to say or think.

       Facebook presents itself falsely as a neutral communications service in which users can

talk to each other when recruiting users but then commits a “bait and switch” and in fact

conducts itself as a Soviet telephone operator interrupting a phone call, allowing only ideas Mark

Zuckerberg wants to propagate to be distributed. This is a violation of the California Deceptive

Trade Practices Act and California’s Implied Duty of Good Faith and Fair Dealing.

       Facebook’s actual conduct is fraud and bad faith which also invalidates Facebook’s

ability to claim Section 230 of the Communications Decency Act of 1996, as amended (47 USC

section 230). Facebook’s actions are at all times manifestly in bad faith, not in the good faith

required under Section 230. Thus by its own terms, Section 230 is not applicable to this case.

       The ultimately creepy behavior of Facebook is incompatible with its promise: To allow

we the users to talk to each other just as with the telephone company.

II.    JURISDICTION AND VENUE

       1.      This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1331 (Federal Question Jurisdiction).

       2.      Although Plaintiff largely sues for breach of contract, the Plaintiff and no doubt

the Defendant anticipate that a federal statute, Section 230 of the Communications Decency Act

of 1996, as amended, will be an important question for the Court to decide. Therefore, the case



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should be in federal court subject to appeal through the federal appellate courts. One anticipated

defense will turn on interpretation of a federal question under the facts presented, even though

that defense arises in response to a state-law breach of contract action.

       3.      This Court has subject matter jurisdiction over this case pursuant to 28 U.S.C. §

1332 (Diversity Jurisdiction) because the amount in controversy exceeds $75,000 and there is

complete diversity amongst the parties.

       4.      This Court has supplemental jurisdiction over Virginia state law claims within

this case pursuant to 28 U.S.C. § 1367 (for state law claim of conversion of personalty).

       5.      To document diversity of parties, the Plaintiff is a citizen of the Commonwealth

of Virginia in Virginia Beach, Virginia, where he permanently and exclusively resides his actual

abode which he has chosen as his residence, domicile, and citizenship.

       6.      For the purposes of documenting diversity of the parties, the Defendant is a

corporation incorporated in the State of Delaware, with its headquarters, nerve center and nearly

all operations in Menlo Park, Virginia.

       7.      Facebook has submitted itself to the jurisdiction of the Commonwealth of

Virginia by registering for authorization to do business in the Commonwealth of Virginia though

the Virginia State Corporation Commission.

       8.      On information and belief, Facebook, Inc. maintains a data center at or near 6200

Technology Blvd, Sandston, Virginia 23150, East of Richmond, and another data center in

Henrico, Virginia, North of Richmond .2

       9.      On information and belief these and perhaps other data centers in Virginia are

very large, sophisticated, banks of computer data “servers” which receive, store, and retransmit



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       https://www.facebook.com/HenricoDataCenter/


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unimaginably large quantities of data.

        10.      However, on information and belief, the data centers are not executive offices and

no decision-making or leadership of the corporation occurs at Facebook’s data centers.

        11.      Thus, Facebook is physically present and operating in Virginia, for the purposes

of in personam jurisdiction, but for the purposes of diversity of citizenship analysis all of

Facebook’s leadership, executive officers, and nerve center are in Northern California.

        12.      Venue is proper pursuant to 18 U.S.C. § 1965 and 28 U.S.C. § 1391(b)(2), (3),

and (e) because the lead Plaintiff resides in the judicial district for the Newport News, Virginia

region and a substantial part of the events or omissions giving rise to the claims occurred in this

judicial district.

        13.      However, Facebook’s term of service purport to require that litigation involving

Facebook must be held in the forum of the U.S. District Court for the Northern District of

Virginia or in California state court.

        14.      Therefore, based on private agreement rather than statute or rules, venue very

likely must be transferred to the U.S. District Court for the Northern District of California.

        15.      However, such forum selection clause and choice of law would hang on whether

or not Facebook’s terms of service and other policies announced for members to respond to by

joining constitute a binding, legal contract. If there is no binding contract, then there is no forum

selection clause or choice of law clause.

        16.      Plaintiff, by counsel, warns against conduct of transferring the case to California

and then there deciding there never was a contract that is binding. In such case, the rest of the

causes of action should be returned back to this judicial district in Virginia.

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      Governors Jim Gilmore and Bob McDonnell promoted policies and circumstances and
engaged in a welcoming “charm offensive” to build a “Silicon Valley East” in Virginia


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III.   PARTIES
                                             Plaintiff

       17.     Plaintiff Chief Petty Officer Jarome Bell (“Chief Bell “) is an individual, a natural

person, who at all material times was and is now a citizen of Virginia.

       18.     Chief Bell is an African-American Republican candidate for the U.S. House of

Representatives from Virginia Beach.

       19.     Having dedicated his life to a career in the U.S. Navy, retired as a Chief Petty

Officer after 27 years, Chief Bell is running for the U.S. House of Representatives to defend our

republic against the foreign and domestic enemies to our Constitution, to which he swore an oath

as a member of our Armed Forces — an oath that does not expire.

       20.     Chief Bell argues that the Democrat party put Black votes on the back of the

proverbial bus long ago, and left African-Americans like him behind. Chief Bell says “They

don’t represent us now, and arguably never did. Similarly — and with the exception of Donald

Trump — the establishment wing of the GOP no longer represents middle class working

Americans.”

       21.     Chief Bell argues that “Whether they’re communists, socialists, or violent

protesters in the streets, the far-left has infected our government at every level with dangerous,

anti-American ideas and policies, and it’s time we put a stop to it. I served with the FBI until I

embarked on a life-changing course with the United States Navy, where I completed seven and a

half years of sea duty and flew over 9,000 hours as a Naval Aircrewman circling the globe in

support of our nation’s military missions and national security interests.”

       22.     While in the U.S. Navy, Chief Bell deployed twice on the U.S.S. Carl Vinson

under President Ronald Reagan during the Cold War and in past years as a Naval Aircrewman

deployed numerous times to various countries in defense of our country abroad. He faithfully



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served world-wide on every continent except Antarctica and at times accompanied world

dignitaries on diplomatic missions, including once having the privilege and honor of airlifting

Dr. Condoleeza Rice to Tel Aviv, Israel for a peace summit.

       23.     Since retiring from the Navy, Chief Bell opened a small business he owns and

operates, Line6 Recruiting Services, where he helps young adults who will soon be graduating

from high school obtain college athletic scholarships.

       24.     In other words, Chief Bell is an African-American patriot whom the Democrat

Party must silence and try to destroy. The entire public image and strategies of the Democrat

Party depend upon stirring up racial grievance and creating a sense of dependency upon them as

the party of government.

       25.     Chief Bell’s candidacy as a conservative, MAGA Republican presents a powerful

rebuke to the racist appeals and manipulation of the Democrat Party.

       26.     Therefore, Facebook has sought to silence Chief Bell as a candidate for Congress

to prevent the contradiction of the Democrat Party’s political messaging.

       27.     Recent documentary revelations in the news have exposed that Facebook in fact

colluded with Democrat Party operatives, candidates, and campaigns, including that of then

candidate Joe Biden.

                                           Defendants

       28.     Defendant FACEBOOK, Inc. is a telecommunications service business which

entices private individuals to supply their own content to the Facebook community by making

(and then breaking) the promise that individuals can have their own opinions, comments, and

messages be heard.

       29.     Facebook is not a news outlet and does not produce or disseminate any content of




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its own.

       30.     Facebook has no reporters, writers, or originators of its own content.

       31.     Facebook relies upon the content supplied by its users as the action and reason for

other users to congregate within the Facebook community. Facebook entices members to supply

the members’ own content to make the Facebook platform function and succeed by promising in

return the opportunity for those members to be able to post the member’s own opinions and

thoughts and to be heard by all other members, especially by those who have chosen to link to

the member’s page (designated euphemistically, but not in any normal sense, “friends”).

       32.     If users did not supply their own content, no one would join or participate on

Facebook. Thus, Facebook exploits and uses its members to attract other members by tricking

those members into providing uncompensated content. Members are “compensated” only by the

promise that they can communicate with others and be heard without interference.

IV.    REQUEST FOR RECONSIDERATION, MODIFICATION, OR EXTENSION OF
       EXISTING LAW. SECTION 230(2)(a) OF THE COMMUNICATIONS
       DECENCY ACT OF 1996 IS INAPPLICABLE AND WRONGLY CONSIDERED

       33.     The Plaintiff, by counsel explicitly asserts that previous interpretations of law

have been conspicuously wrong, and inexcusably so, and explicitly requests that this Court and

appellate courts reject inconsistent, prior misinterpretation of legal principles, statutes and

precedents and correct those mistakes by applying accurate, correct legal principles and rules of

statutory construction.

       34.     If these legal principles must be reconsidered, the Plaintiff sues for and seeks in

good faith several extensions, clarifications, and corrections of misguided legal precedents, just

as exhaustively explained by U.S. Supreme Court Justice Clarence Thomas in Biden V. Knight

First Amendment Institute at Columbia University, 593 U.S. _____ (April 5, 2021), Record No.




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20-197, (Concurrence of Justice Clarence Thomas) (actually a dissent in substance) and also

passionately argued by Facebook itself in a relentless, wall to wall, cable television advertising

campaign appealing for laws and regulations for social media to be updated after 25 years.

       35.     Section 230, in particular, has been read to say what it does not say.

       36.     Regardless of past mistaken misinterpretation, the rules of statutory construction

are quite clear and unyielding.

       37.     Facebook’s lawyers have erroneously ignored and induced some judges to

flagrantly ignore the doctrine of Noscitur a Sociis (seemingly open-ended or general terms are

strictly limited to the context of specific terms) ignore the plain words of the statutory preamble

statement of principles, interpret the requirement of “good faith” as subjective and untethered

from the narrow specifics of the statute to which “good faith” must be tightly connected, and

allow subjective evaluation of Section 230(2)(A)’s elements.

       38.     Section 230 begins with:

                  (a)FINDINGS

                  The Congress finds the following:

                  (1) The rapidly developing array of Internet and other interactive
                      computer services available to individual Americans represent an
                      extraordinary advance in the availability of educational and
                      informational resources to our citizens.

                  (2) These services offer users a great degree of control over the
                      information that they receive, as well as the potential for even
                      greater control in the future as technology develops.
                  (3) The Internet and other interactive computer services offer a forum
                      for a true diversity of political discourse, unique opportunities for
                      cultural development, and myriad avenues for intellectual activity.

                                      ***

       39.     Thus, Section 230 must be construed as advancing the goals of the user’s




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(Facebook member’s) control over the information he or she receives and the goals of “a true

diversity of political discourse.”

       40.     Under the doctrine of Noscitur a Sociis, the general, open-ended phrase “or

otherwise objectionable” is strictly limited to the context of the more specific, more limited

terms that it follows of material that is “obscene, lewd, lascivious, filthy, excessively violent,

harassing.”

       41.     Section 230(2)(A) provides no immunity to Facebook’s actions unless those

actions were taken in good faith to limit publication of “obscene, lewd, lascivious, filthy,

excessively violent, harassing” material or similar material of the same kind.

       42.     Section 230(2)(A) provides no immunity to Facebook’s actions whatsoever if a

member’s posts or comments are deemed “otherwise objectionable” for reasons unrelated to

being “obscene, lewd, lascivious, filthy, excessively violent, harassing.”

       43.     “Otherwise objectionable” could not mean, for example, a person expressing (a)

his dislike of vegetarian hamburgers which Facebook staffers could perhaps decide are healthy,

(b) statistics calling into question whether humans are causing climate change, (c) where the

SARS-CoV-2 virus originated from, (d) that the contents of Hunter Biden’s laptop are genuine,

(e) that the Soviet Union was behind John F. Kennedy’s assassination or (f) even that flimsy,

disposable masks which were intended for medical professionals to wear for no more than a few

minutes up to 90 minutes at a time and then be discarded have significant disadvantages for the

general public to wear for weeks on end.

       44.     “But it isn’t true!” (in Facebook’s flawed and often wrong opinion) does not

qualify as “obscene, lewd, lascivious, filthy, excessively violent, harassing, or otherwise

objectionable.”




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         45.   U.S. Supreme Court Justice Louis D. Brandeis established the “counter-

speech” doctrine in his classic concurring opinion in Whitney v. California 74 U.S. 357

(1927) (concurring opinion, J. Brandeis), when he warned:

                   “If there be time to expose through discussion, the
                   falsehoods and fallacies, to avert the evil by the
                   processes of education, the remedy to be applied is
                   more speech, not enforced silence.”

         46.   Thus the phrase “or otherwise objectionable” is not a roving commission to search

out through the expanse of all of society whatever Facebook’s Philosopher Kings may think

(without much of a track record of success) would be best for the society of their lesser brethren.

         47.   Neither Section 230 nor Facebook’s contract with Chief Bell authorizes Facebook

to censor news, information, or opinions which Facebook imagines (usually incorrectly) to be

false.

         48.   Even if Facebook were qualified to decide what is true or false, it is not their

business to try to do so.

         49.   The element of “good faith” is strictly limited to the context of Section 230(2)(A).

         50.   “Good faith” in Section 230(2)(A) does not mean anything that Facebook

subjectively believes might be good for society.

         51.   Actions “taken in good faith” are narrowly and strictly limited to the rest of

Section 230(2)(A) to restrict “obscene, lewd, lascivious, filthy, excessively violent, harassing”

material.

         52.   “Good faith” in Section 230(2)(A) does not mean any and all good intention in

society in general.

         53.   A sincere belief, defensible as not irrational to an objective observer, that a



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member’s post on Facebook is lewd or lascivious is one taken in good faith and subject to the

immunity of Section 230(2)(A).

       54.      A good faith belief (for example) that society would benefit if people abstained

from eating red meat could not qualify as the “good faith” requirement under Section 230(2)(A)

for Facebook to enjoy immunity, because it is untethered from the rest of the statute.

       55.      A good faith belief (for example) that society would benefit if people abstained

from eating red meat could not qualify as the “otherwise objectionable” term under Section

230(2)(A) for Facebook to enjoy immunity, because it is untethered from the rest of the statute.

       56.      Finally, in no other context, unless explicitly called for, would statutory terms be

construed without any objective component.

       57.      “Good faith” for example is a term of art in the law, which does not include an

irrational belief ungrounded in fact or reality, and which is limited by a sincere basis in fact.

       58.      Here, Section 230 provides no immunity or hope of any defense to Facebook’s

bad faith actions far outside the terms of Section 230(2)(A).

V.     GENERAL FACTS AND LAW COMMON TO ALL COUNTS

             A. Parties Entered Into a Contract Which Facebook Breached

       59.      Facebook and Chief Bell entered into a contract for telecommunications services.

       60.      Facebook breached the contract.

       61.      Chief Bell now sues for Facebook’s breach of contract.

       62.      Facebook removed at least six of Chief Bell’s posts from his page for his

candidacy as a candidate for election to the U.S. House of Representatives from Virginia.

       63.      Chief Bell’s posts were accurate and historical warnings explaining his position as

a candidate for the U.S. House of Representatives on important political issues.




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          64.     Yet Facebook blocked these posts of Chief Bell, suspended his account for

various time periods of 3 days, 7 days, and 30 days, and has blocked Chief Bell’s use of the

“live” or video streaming function up until July 1, 2021.

          65.     The “live” function is of great importance during a political campaign for elected

office.

          66.     As demonstrated by Virginia Republican candidates since the 2017 campaign for

Governor, use of Facebook’s “live” function is a vitally important method for candidates

covering a large amount of territory in massive Virginia.

          67.     The “live” function allows Facebook members to easily broadcast video of

campaign appearances, speeches, and commentary from anywhere on the road.

          68.     Thus, the loss of the “live” function is a significant harm in the short time-table of

a political campaign.

          69.     All of these limitations had a cascading effect of reducing Chief Bell’s candidacy

and fund-raising, in which notoriety builds over time with growing fund-raising prospects.

          70.     In a political election campaign, notoriety and fund-raising should grow

exponentially and quickly if the campaign is to be successful. Each effort builds on the last.

          71.     As a result of this disruption to Chief Bell’s congressional election campaign by

Facebook, his campaign lost in excess of $75,000 of fund-raising and the expenditure of greater

costs to compensate for the loss of telecommunication services.

                B. CHIEF BELL’S POSTS DID NOT VIOLATE COMMUNITY STANDARDS

          72.     It is important to understand that as an elected member of Congress, Chief Bell

would be called upon to vote upon these political issues covered in his Facebook posts.

          73.     The voters of Virginia have a right to know candidate Chief Bell’s position as a




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likely Member of Congress on these political issues.

       74.       These are not random opinions or commentary but part of Chief Bell’s candidacy

for U.S. House of Representatives.

       75.       Facebook literally censored a congressional campaign for elected office.

       76.       Chief Bell explained to the voters of his Congressional District his position on

guns, gun control, and the Second Amendment with a (historically accurate) warning from real-

world history.

       77.       Chief Bell posted:




       78.       Clearly, African-American Chief Petty Officer Jarome Bell was unmistakably

warning from history the political error of contemplating gun control laws that he might be

called upon to vote for or against as a Congressman in light of whether a U.S. citizen “needs” a

gun and whether a citizen’s constitutional rights are limited by what “serves” the state by

pointing out a horrible historical precedent we should never allow to be repeated.

79.     Facebook suspended Chief Bell’s ability to use his page for his candidacy as a candidate


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 for election to the U.S. House of Representatives and his personal account, when campaigning

             for elected office is a very time-sensitive process on short time-tables.




       80.    Facebook knew that the account was an elected campaign for congressional

office, because the account name says so.

       81.    Chief Bell explained to the voters his position on the government’s response to

the COVID-19 epidemic, as important issues facing the next session of Congress and which the

voters would need to know the candidates position on when voting in November 2022:




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 82.   Facebook acted in bad faith, where Chief Bell asked questions:




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       83.    Facebook lied in “covering” this post, including because the public policy

questions that need to be answered did not assert “information” and no such information was

checked by fact checkers. Chief Bell identified issues of concern for Congress in the upcoming



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election for U.S. Congress in 2022.

       84.    Chief Bell posted on May 31, 2021:




       85.    Chief Bell posted on April 13, 2021:




       86.    Chief Bell posted on January 28, 2021:


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 87.   Which Facebook then removed and banned:




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              C. FACEBOOK’S VIOLATIONS OF THE CONTRACT

                    i. “COMMUNITY STANDARDS” CLAUSE UNENFORCEABLE

        88.     Facebook admits that it changes its “community standards” as often as once every

two weeks.      https://about.fb.com/news/2019/04/insidefeed-community-standards-development-

process/

        89.     Thus, any requirement to abide by “community standards” is illusory, without

legal meaning, and unenforceable.

        90.     As an illusory promise of the contract, Facebook’s “community standards”

requirement is a one-way promise which is arbitrary and capricious.

        91.     That is, within the concepts of contract law, the claim of a requirement of meeting

“community standards” contains no standards at all, no principles, no guidelines, nothing.

        92.     The requirement that posts meet these illusory, ill-defined, ever-changing

“community standards” is null and void within contract law.

        93.     Facebook is in effect promising to provide communication services as a neutral

platform but only if they feel like it for any or no reason at all.

        94.     That is no promise at all.

        95.     Moreover, Facebook does not announce changes to its community standards, such

that its ever-changing “community standards” cannot qualify as a condition or return promise

under the contract from a member, because members are not notified of the changing standards.

        96.     In fact, Facebook does not identify or explain for users its “community standards”

at all, whether at the time a member joins or at any later time.

        97.     Facebook offers only the vaguest of abstract aspirations with insufficient detail to

inform anyone, including its own censors, of what the community standards actually are.




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       98.     It is legally impossible for anyone to violate Facebook’s “community standards”

because they are not standards at all but vague, ambiguous, superficial, idealistic, utopian

outcomes – platitudes -- that Facebook wishes to have happen, such as members feeling “safe.”4

       99.     Facebook offers vague and ambiguous statements which are hoped-for results, not

characteristics of a messages or content posted by members that is acceptable or not.

       100.    Therefore, stating only outcomes such as how a person might subjectively react to

a post do not create a contractually valid or enforceable obligation in a contract.

       101.    It is not possible to determine if a member’s posts, messages, and/or content

violates these aspirational platitudes because they are not capable of being analyzed factually.

       102.    Expressing a vague hope that posts might have some happy effect on others

cannot impose any enforceable obligation upon the Plaintiff or others.

       103.    Furthermore, no one sees a member’s posts unless they have chosen to become a

“friend” (not an actual friend, but a euphemistic term for contacts who are “followers” of a

member’s posts) or who go looking for a poster’s Facebook account page (called a profile or

news feed).

       104.    Thus, when considering the vague, ambiguous, superficial, subjective aspirational

platitudes of Facebook’s “community standards” these must be placed in the context that nobody

will see Chief Bell’s (or anyone else’s) posts on Facebook unless they are either looking for them

or have chosen to designate themselves as one of his “friends” or followers.

4
        One of the few categories that approaches clarity is the rule against hate speech. But the
definition of “language that attacks people” based on various characteristics clearly does not
mean to Facebook “language that attacks people.” Facebook in fact uses the category of “hate
speech” to include any opinion that a person of various categories might have a disagreement
with, except that of course vilifying Christians, Whites, or males is always allowed on Facebook.
Thus, even standards that at first glance have the appearance of being specific actually fall apart
after examination and consideration of how the term is actually applied by Facebook. Posts that
do not “attack” anyone for any reason are classified by Facebook as “hate speech.”


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       105.    So, the relevant “community” for these “community standards” is those who like

what Chief Bell has to say.

       106.    Thus, the ever-changing “community standards” requirement is not contractually

enforceable.

       107.    For these reasons, the ever-changing “community standards” requirement violates

in practice California’s and Virginia’s implied covenant of good faith and fair dealing by

depriving Chief Bell and others of the benefit of their bargain.

       108.    The ever-changing “community standards” requirement has become in

Facebook’s hands a magic trick which violates in practice California’s and Virginia’s implied

covenant of good faith and fair dealing by withholding the benefits of the contract and the

promised services from members like Chief Bell for unexplained, arbitrary, and capricious

reasons.

                   ii. FAILURE TO PROVIDE PROMISED APPEAL RIGHTS
                       OR IDENTIFY RULES OR STANDARDS ALLEGEDLY
                       VIOLATED

       109.    Facebook has promised Chief Bell and others the right to appeal any adverse

action such as removing a post, suspending access to Facebook or the like.

       110.    Facebook flagrantly violates this contractual obligation of Facebook.

       111.    In limited circumstances, appearing to be somewhat random, Facebook will

provide a method to challenge an adverse action, although the method is usually hidden from all

but the most determined members.

       112.    However, most of the time (literally a majority of the time) the function does not

work, and produces an error message that the function is unavailable at this time.

       113.    This would mean that even Facebook would not be notified that someone tried to




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object and point out an error in their actions, because the function failed.

        114.    Facebook diligently hides any contact information or means to contact them.

        115.    During the COVID-19 global pandemic, working from home over the internet

(really from anywhere in the world) when people were in financial need would have been a

perfect solution to continue operations for Facebook functions while Facebook staff might not be

gathering in its offices.

        116.    Instead, acting in its continual pattern of bad faith, Facebook suspended appeals

of adverse actions and second level (supervisory) reviews of adverse actions.

        117.    Acting in bad faith, Facebook exploited the excuse (though in a plainly illogical

excuse) of the COVID-19 pandemic to censor posts during a presidential campaign without the

contractually-required opportunity to appeal the censorship.

        118.    Again, Facebook could have employed Facebook employees working from home

or contract employees hired to work from home, thus demonstrating the cynical and false

pretextual excuse and lack of good faith.

        119.    In roughly one-third of the cases when posts are removed, covered, or the basis of

suspending, blocking or banning, Facebook will not identify which post it is referring to.

        120.    Especially for the Administrator of a group who did not personally post the

comment, but is confronted with a warning to the group Administrator, the member of group

Administrator sometimes has no idea what post Facebook is accusing as being objectionable.

        121.    The Administrator cannot judge or counsel a group member without knowing

what the post was or why it might have been seen as objectionable.

        122.    The Facebook notice says that Facebook cannot show the content of the

objectionable post, suggesting that it is so horrible that even the person who originally posted it




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cannot be shown the post.

       123.     This of course is a breach of contract interfering with the member’s right to

appeal and/or enforce the terms of the contract.

       124.     Interfering with the ability of the member to enforce the contract or to appeal is of

course an act of bad faith, defeating Facebook’s legal defenses.

       125.     The failure to provide appeal / review of erroneous adverse actions is a breach of

the contract.

       126.     The failure to identify the reasons for adverse actions is a breach of the contract.

       127.     The failure to clearly identify in advance of a member using Facebook what the

community standards are is a breach of the contract.

       128.     The failure to clearly identify in advance of a member using Facebook the

constant changes made to community standards is a breach of the contract.

       129.     Nevertheless, the intrepid and capable Chief Bell was able to fine one or two

email addresses for Facebook employees.

       130.     Chief Bell protested Facebook’s actions by email

       131.     Facebook did not respond with any decision or remedy.

                   iii. SHADOW BANNING IS A VIOLATION OF THE CONTRACT

       132.     Chief Bell has also suffered the loss of the promised communication services

because Facebook announces publicly that it reduces the reach or distribution of all of a

member’s posts, even those that are not objectionable.

       133.     That is, Facebook admits publicly to violating its contract and terms of services as

to member posts which are admitted to not be in any way objectionable because Facebook

alleges that other, different posts violated Facebook’s ambiguous, vague, aspirational platitudes.




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       134.    Facebook admits to denying members including Chief Bell the promised

communication services as to messages, posts, and/or contents which it admits are not in

themselves objectionable.

       135.    Originally a term developed in the world of Twitter users, “shadow banning” has

come to be a single, clear, comprehensible term for adverse action also committed by Facebook.

       136.    Facebook describes the same concept alternately as “slowing” down a member’s

posts or limiting the reach or distribution of the member’s posts.

       137.    However called, it is a violation of the contract between Chief Bell and Facebook.

       138.    Meanwhile, Facebook is also frightening and intimidating Administrators of

conservative political groups with imminent cancellation of the entire group because of a few

member’s few posts which Facebook claims to violate ill-defined and unidentified community

standards.

       139.    Administrators of conservative groups keep warning members that they are in

danger of having the group shut down, thus leading to severe censorship of political speech.

       140.    However, there is nothing in Facebook’s contract with Chief Bell or others which

allows Facebook to censor, reduce distribution of, limit the reach of, or “slow down” Chief

Bell’s unobjectionable posts even if under Facebook’s mysterious, subjective, and ill-defined

aspirational standards a couple of his posts are disliked by Facebook.

       141.    Facebook’s adverse actions to reduce the reach of Chief Bell’s posts which are

not objectionable are actions of censorship made in bad faith.

                  iv. ADVERSE ACTIONS FOR POSTS THAT DO NOT IN
                      FACT VIOLATE ANY COMMUNITY STANDARDS

       142.    Furthermore, Chief Bell’s posts do not actually violate any version, including the

pretextual elastic versions asserted, of Facebook’s “community standards.”



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       143.    For example, although the records is not now showing on Facebook, the attorney

Jonathon Moseley posted a news summary image or “meme” about crime statistics.

       144.    Facebook immediately removed the post (or perhaps covered it) on the grounds

that it was similar to other posts that had been determined to be false by independent fact

checkers.

       145.    On examining the link to the independent fact checker, Moseley discovered that

the report of the independent fact checker had nothing to do with the content of Moseley’s post.

       146.    Other people’s post contained an additional topic not found in Moseley’s post.

       147.    Yet, Facebook was programmed to instantly remove (or cover with a notice)

Moseley’s post based on what other people’s post – not Moseley’s – said.

       148.    Facebook objected to a statement not included in Moseley’s post.

       149.    On another occasion, someone posted a message about treatments for COVID-19

in a group that Moseley controls as Administrator.

       150.    Facebook provided a warning that the use of soap and water is important but not a

cure for COVID-19.

       151.    However, the post which Facebook covered and attached a warning to had

absolutely nothing to do with that topic. The member’s post did not address or discuss the use of

soap or water in any way, whether for curing or containing COVID-19.




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        152.    Facebook connected an independent fake fact checker article that was completely

irrelevant to the post in the group “Conservative Party” on Facebook.

        153.    On the rare occasions when Facebook identifies (vaguely) why a member’s post

violates some standard or rule, it often turns out to be an error in which the member’s post does

not actually contain or address the subject matter that Facebook asserts to be objectionable.

        154.    Facebook is rampantly violating its contract by recklessly connecting member’s

posts to standards or rules which actually do not in any way relate to the post.

        155.    In the case of Chief Bell, it remains mysterious why Facebook objected to about

six of his posts, and therefore, it is difficult to say.

        156.    But on information and belief, on discovery, it will become clear that once again


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Facebook erroneously, randomly, and recklessly assigned irrelevant categories like “hate speech”

that don’t actually apply to Chief Bell’s posts, almost like throwing darts at a dart board while

wearing a blindfold.

       157.    On information and belief, Facebook’s reasons for removing Chief Bell’s posts

and restricting his use of Facebook are pretextual excuses because they do not want a

conservative, African-American Republican to become a symbol opposed to the Democrat Party.

       158.    On information and belief, Facebook’s reasons for removing Chief Bell’s posts

and restricting his use of Facebook are pretextual excuses because Facebook’s censors do not

want a successful African-American conservative, MAGA Republican to debunk the Left’s

attempts to falsely smear Republicans as racist, when they are not.

                   v. CENSORSHIP OF NEWS VIOLATES THE CONTRACT

       159.    Much of the difficulty is in Facebook’s “Spanish Inquisition” against news reports

that Mark Zuckerberg and his team do not like and do not want anyone to know about.

       160.    This has led to a public relations catastrophe as the news that Facebook and others

spent a year censoring are now being proven to be in fact true.

       161.    However, the very enterprise of censoring news reports that disagree with Mark

Zuckerberg’s inaccurate, unfounded opinions is a violation of the contract between Facebook

and Chief Bell as also with other members.

       162.    Even if a group of Leftists gather together every two weeks and give their

opinions to each other on left-wing politics in the name of Facebook’s “community standards,”

the actual contract between Facebook and Chief Bell does not support the effort to censor news

reports, information or misinformation within the contractual terms no matter what the

“community standards” board tells itself.




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       163.    There is no authority within the contract for Facebook to censor opinions based

on what Facebook believes is true or untrue. (And Facebook’s abysmal record on knowing what

is true should have warned Facebook off of the attempts.)

       164.    Facebook’s contract with Chief Bell and others emphasizes the Facebook

member’s right to share his or her own ideas and opinions and links to various news reports.

       165.    Facebook’s bad faith attempt to censor “misinformation” is not part of the

contract formed between Facebook and Chief Bell.

       166.    This is especially inexcusable and in bad faith when Facebook surely understands

by now that Facebook was the one spreading misinformation and members of Facebook was

censoring were telling the truth all along.

       167.    The fact that Facebook is habitually wrong about its political opinions and

understanding of news and conflicting medical views should have warned Facebook by now that

Facebook is not a newspaper, news media outlet, or publisher of news and that it should stay out

of the news business and do what Facebook is authorized and able to do: Provide a neutral

communications service for members to talk to each other.

                   vi. USE OF INDEPENDENT FACT CHECKERS VIOLATES
                       CONTRACT AND IS AN ACT OF BAD FAITH

       168.    Adding to Facebook’s bad faith and violations of the contract, Facebook has

colluded with a George Soros funded front group to invent fake fact checkers which it calls

independent but which are not independent.

       169.    Plaintiff here defines a fake fact checker as one that either did not actually exist

prior to Facebook employing it or which hardly anyone had ever heard of before Facebook

engaged them to censor political conservative speech.

       170.    In any event, Facebook often – but not exclusively – hides behind the fake fact



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checkers that on information and belief it created for the purpose.

       171.    Facebook also just outright censors conservatives without hiding behind anyone.

       172.    Because the purpose of hiding behind an “independent fake checker” would be to

give confidence and credibility to its decisions to censor conservative political speech, the

conspicuous and glaring use of groups that are unknown to the general public and which almost

no one has ever heard of before demonstrate that on information and belief Facebook concocted

these organizations as a contrivance.

       173.    If Facebook wanted to actually rely upon credible and trusted third parties, it

would not be using organizations that do not inspire any confidence among the public but instead

leave the public wondering “Who are these people?”

       174.    On a few occasions, Facebook will cite to the opinions (usually not actual news

articles) of left-wing but mainstream newspapers or news outlets like USA Today, Reuters, or

the Associated Press.

       175.    But the fact that Facebook obviously could, and knows how to, cite to mainstream

newspapers or news magazines highlights the fraud of using instead fact checkers that the public

will have no knowledge of and no confidence in.

       176.    On information and belief, Facebook by itself and/or by collusion with other

social media and George Soros funded front groups invented these fact-checking organizations

purely to deceive and defraud the public and its members, acting in bad faith.

       177.    On information and belief, these fact-checkers are not in any sense independent

but are dependent for their funding upon George Soros and for their notoriety upon Mark

Zuckerberg and were created by Mark Zuckerberg and George Soros.

       178.    Plaintiff alleges that these previously-unknown, mysterious, shadowy fact




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checkers know where their next meal is coming from, that it is dependent upon their role in

censoring political conservatives.

                 vii. FACEBOOK EMPLOYEES CENSORING MEMBERS
                      FOLLOWING THEIR OWN INDIVIDUAL RULES

       179.    On information and belief, discovery will show that Facebook’s unnamed,

unaccountable censors do not actually follow Facebook’s promises, policies, community

standards, or instructions but are allowed by Facebook management with a wink and a nod to

conduct the individual censor’s own individual political war against individual Facebook

members, particularly those who are most effective at advancing conservative views.

       180.    That is, what Facebook announces as its policies and procedures have little

relationship to what Facebook actually does in actually breaching its contract with its members.

       181.    On information and belief, discovery will show that Facebook’s unnamed,

unaccountable censors do not remove or respond to individual posts, but instead determine that

they do not like a conservative member and go searching for a pretextual excuse to suspend or

block conservative members whose political opinions the unnamed censors don’t like.

       182.    On information and belief, discovery will show that Facebook’s unnamed,

unaccountable censors pretextually complain about certain posts – including making

strategically-motivated “mistakes” – but in reality are targeting individual members for the

members’ overall conservative political beliefs expressed in other posts not being flagged.

           D. Bad Faith by Pretextual, Arbitrary, Jihad Against Conservatives

       183.    For all causes of action, Facebook’s actions are in bad faith and pretextual,

demonstrably false, evasive excuses, which strip Facebook of all legal defenses.

       184.    For example, counsel Jonathon Moseley posted on Facebook the following image:




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       185.   In response, Facebook blocked the image and banned Moseley, as he recalls, from

using Facebook for 7 days.

       186.   The image (created by someone else) portrayed Facebook staff as playing the role

of Nazis, and Facebook leaped to confirm this role by in fact banning the image.

       187.   A post accusing Facebook of looking for excuses to ban members like Moseley

was then given as the reason for Facebook to ban Moseley.

       188.   Moseley also reposted on Facebook the following image:




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      189.   When Moseley re-posted the above, in response, Facebook blocked the image and

banned Moseley from using Facebook for 3 days.




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       190.   That is, drawing attention to Facebook’s hypocritical behavior with a post that

Facebook refused to take down from Facebook on the grounds that it did not violate community

standards, was banned as a violation of community standards.

       191.   Attorney Moseley posted this montage from photographs of public events:




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       192.   And then Facebook instantaneously (that is, pre-programmed) removed this post

and blocked Moseley from using Facebook for “nudity or sexual activity.”




       193.   When attorney Moseley reposted someone else’s satirical image poking fun of

Facebook’s obvious political bias against conservatives, Facebook confirmed its own bias:




       194.   Jonathon Moseley reported many offensive posts and images from the Facebook

group “PrayerWorks” (whose Administrators stopped managing it years ago).


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       195.   NOTE: The argument is not that posts should be banned, but that Facebook is

hypocritical and acting in bad faith. Facebook claims that political speech it doesn’t like may

upset some of its community. But Facebook allows non-conservative posts that could upset at

least some of the Facebook community. Yet only conservative political messages are censored.




       FACEBOOK REFUSED TO REMOVE FROM THE GROUP “PRAYER
       WORKS,” WHEN REPORTED BY ATTORNEY JONATHON MOSELEY,
       SAYING THIS DOES NOT VIOLATE THEIR COMMUNITY STANDARDS,
       EVEN THOUGH SOME PEOPLE COULD FEEL HARASSED:




       FACEBOOK REFUSED TO REMOVE FROM THE GROUP “PRAYER
       WORKS,” WHEN REPORTED BY ATTORNEY JONATHON MOSELEY,
       SAYING THIS DOES NOT VIOLATE THEIR COMMUNITY STANDARDS,
       EVEN THOUGH ITS PURPOSE IS TO BE INTENTIONALLY OFFENSIVE:



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       196.   The most offensive, sexualized content are not being highlighted here, including

many, many images and cartoons of nuns having sex with satan, priests, or others, holy items

designed as sex toys, etc. The examples given here are the mildest of examples.

       197.   Yet, despite having these posts flagged by attorney Moseley, Facebook’s censors

responded that these items did not violate Facebook’s community standards:

       FACEBOOK REFUSED TO REMOVE FROM THE GROUP “PRAYER
       WORKS,” WHEN REPORTED BY ATTORNEY JONATHON MOSELEY,
       SAYING THIS DOES NOT VIOLATE THEIR COMMUNITY STANDARDS,
       EVEN THOUGH ITS PURPOSE IS TO BE INTENTIONALLY OFFENSIVE:




       FACEBOOK REFUSED TO REMOVE FROM THE GROUP “PRAYER
       WORKS,” WHEN REPORTED BY ATTORNEY JONATHON MOSELEY,
       SAYING THIS DOES NOT VIOLATE THEIR COMMUNITY STANDARDS,
       EVEN THOUGH ITS PURPOSE IS TO BE INTENTIONALLY OFFENSIVE:




       FACEBOOK REFUSED TO REMOVE FROM THE GROUP “PRAYER
       WORKS,” WHEN REPORTED BY ATTORNEY JONATHON MOSELEY,
       SAYING THIS DOES NOT VIOLATE THEIR COMMUNITY STANDARDS,


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 EVEN THOUGH ITS PURPOSE IS TO BE INTENTIONALLY OFFENSIVE:




 FACEBOOK REFUSED TO REMOVE FROM THE GROUP “PRAYER
 WORKS,” WHEN REPORTED BY ATTORNEY JONATHON MOSELEY,
 SAYING THIS DOES NOT VIOLATE THEIR COMMUNITY STANDARDS,
 EVEN THOUGH ITS PURPOSE IS TO BE INTENTIONALLY OFFENSIVE:




 FACEBOOK REFUSED TO REMOVE FROM THE GROUP “PRAYER
 WORKS,” WHEN REPORTED BY ATTORNEY JONATHON MOSELEY,
 SAYING THIS DOES NOT VIOLATE THEIR COMMUNITY STANDARDS,
 EVEN THOUGH ITS PURPOSE IS TO BE INTENTIONALLY OFFENSIVE:




 FACEBOOK REFUSED TO REMOVE FROM THE GROUP “PRAYER
 WORKS,” WHEN REPORTED BY ATTORNEY JONATHON MOSELEY,
 SAYING THIS DOES NOT VIOLATE THEIR COMMUNITY STANDARDS,
 EVEN THOUGH ITS PURPOSE IS TO BE INTENTIONALLY OFFENSIVE:




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 FACEBOOK REFUSED TO REMOVE FROM THE GROUP “PRAYER
 WORKS,” WHEN REPORTED BY ATTORNEY JONATHON MOSELEY,
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 SAYING THIS DOES NOT VIOLATE THEIR COMMUNITY STANDARDS,
 EVEN THOUGH ITS PURPOSE IS TO BE INTENTIONALLY OFFENSIVE:




 FACEBOOK REFUSED TO REMOVE FROM THE GROUP “PRAYER
 WORKS,” WHEN REPORTED BY ATTORNEY JONATHON MOSELEY,
 SAYING THIS DOES NOT VIOLATE THEIR COMMUNITY STANDARDS,
 EVEN THOUGH ITS PURPOSE IS TO BE INTENTIONALLY OFFENSIVE:




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       198.    THESE ARE NOT THE WORST OF THE SEXUALLY-GRAPHIC,

BLASPHEMOUS AND INTENTIONALLY OFFENSE – INTENTIONALLY SO – posts that

Facebook deemed not to violate its community standards.

       199.    And recall that Facebook officially welcomes members as young as 13 years old.

       200.    Many of the posts Facebook allows after protest are designed to be offensive. It is

not whether someone might take offense. Offending people, especially religious people, is the

clear purpose and intent of the posts.

       201.    Yet Facebook approved them as consistent with its “community standards” and

refused to take them down when flagged by Moseley.

       202.    For these reasons, the ever-changing “community standards” requirement violates

in practice California’s and Virginia’s Deceptive Trade Practices Acts.

       203.    The ever-changing “community standards” requirement has become in

Facebook’s hands a magic trick which violates in practice California’s and Virginia’s Deceptive

Trade Practices Acts.


VI.    CAUSES OF ACTION

                                  FIRST CAUSE OF ACTION
                                      (Breach of Contract)

       204.    Plaintiffs repeat and re-allege all of the previous allegations of the entirety of this



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Complaint, including in other causes of action, and incorporate them herein in support of this

count with the same force and affect, as if fully set forth herein again at length.

           A. Facebook’s Offer is a Contract Once Accepted

       205.    Facebook admits that its “Terms of Service” at https://m.facebook.com/terms.php

           form a legally binding contract:

                               ***
                  5. Other

                  1.These Terms (formerly known as the Statement of Rights and
                  Responsibilities) make up the entire agreement between you and
                  Facebook, Inc. regarding your use of our Products. They supersede
                  any prior agreements.
                              ***
                  https://m.facebook.com/terms.php/

       206.    Lawyers and judges are the best prepared to understand that contract law is much

more diverse, flexible, and varied than the typical lay person knows, but far more ingrained in

the habit of dealing with only formal written contracts signed by both sides and susceptible of

forgetting all that they learned about the different types of contracts.

       207.    Lawyers and judges know that a formal written document technically
                                                              5
“memorializes” the contract but is not the actual contract.

       208.    Lawyers and judges know that a contract can be formed when one side publicizes

a contractual offer and the other party accepts by his or her actions even without words.6

       209.    In the Restatement of Contracts (Second) is the precedent cited of a man walking

5
        Thomson v. Canyon, 198 Cal.App.4th 594, 129 Cal. Rptr. 3d 525 (2011) (“In January
2010, the court denied the motion finding, among other things, that the prior litigation concerned
whether plaintiff could enforce an alleged oral reconveyance agreement at variance with the
written purchase agreement and did not adjudicate the issue of defendants' alleged negligence in
failing to memorialize the oral agreement.”)
6
        In McAulay v. Jones, 110 Cal.App.2d 302, 242 P.2d 650 (1952), the court held that there
was acceptance of an offer (to renew and extend a lease) by the conduct of the lessor. See, also
Fuller v. Monogram Real Estate, LLC (Cal. App. 2011).


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outside on the sidewalk next to a city corner grocery store, picking up an apple, catching the

grocer’s attention with a nod showing the apple, and then walking on. Held: Contract formed.

       210.      But no expression verbal or non-verbal is required. In what is called a unilateral

contract, suppose a wealth grandfather promises his grand-son “If you refrain from the demon

alcohol at least until your 25th birthday, I will give you $100,000 on your 25th birthday.” The

grandson does not respond at all, verbally or non-verbally, but by his actions accepts the

contractual offer by in fact refraining from alcohol at least until his 25th birthday. A contract is
          7
formed.

       211.      So it is with Facebook. The promises made by Facebook form a binding legal

contract when accepted by users who respond by signing up to be members of Facebook.

              B. Contract with Facebook is Enforceable With Consideration

       212.      It has long been held in England’s and America’s courts that a contract is

enforceable even if real estate “Black Acre” were sold for merely payment of a peppercorn.8 If

the parties deem the price sufficient, the courts will not second-guess their decision.

       213.      The members of Facebook have made Facebook the sixth wealthiest company in
                                                                     9
the world in 2019 by those members joining and using Facebook.

       214.      Facebook is neither a charity nor non-profit organization.

       215.      Facebook is receiving benefits from persuading users in Virginia, around the

United States, and around the world to sign up as members.


7
        Harris v. Time, Inc., 237 Cal.Rptr. 584, 191 Cal.App.3d 449 (Cal. App. 1987) ("The text
of Time's unopened mailer was, technically, an offer to enter into a unilateral contract: the
promisor made a promise to do something (give the recipient a calculator watch) in exchange for
the performance of an act by the promisee (opening the envelope).")
8
        See, e.g., Sfreddo v. Sfreddo, 59 Va.App. 471, 720 S.E.2d 145 (Va. App. 2012).
9
        “Here Are The 20 Richest Companies & Corporations In The World Today
 ,” Money, Inc., 2019, https://moneyinc.com/richest-companies-in-the-world-in-2019/


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       216.   Facebook perceives a value in making promises to those who respond by signing

up as members and actively using Facebook.

       217.   Therefore, a binding legal contract is formed when people sign up as members of

Facebook and use it in response to Facebook’s promises.

       218.   Therefore, the contract is supported by consideration.

           C. FACEBOOK HAS BREACHED THE CONTRACT

       219.   Plaintiff has already identified specific breaches of the contract in the allegations

above, which are relied upon and incorporated by reference herein.

       220.   Facebook promises to enable people to connect with each other:

                 Welcome to Facebook!

                 Facebook builds technologies and services that enable people to
                 connect with each other, build communities, and grow businesses.
                 These Terms govern your use of Facebook, Messenger, and the other
                 products, features, apps, services, technologies, and software we offer
                 (the Facebook Products or Products), except where we expressly state
                 that separate terms (and not these) apply. These Products are provided
                 to you by Facebook, Inc.

                 https://m.facebook.com/terms.php/

       221.   Facebook promises to Empower members to express themselves and

communicate about what matters to them:

                 1. The services we provide

                 Our mission is to give people the power to build community and bring
                 the world closer together. To help advance this mission, we provide the
                 Products and services described below to you:

                             ***

                 Empower you to express yourself and communicate about what matters
                 to you:

                 There are many ways to express yourself on Facebook and to



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                 communicate with friends, family, and others about what matters to
                 you - for example, sharing status updates, photos, videos, and stories
                 across the Facebook Products you use, sending messages to a friend or
                 several people, creating events or groups, or adding content to your
                 profile. We have also developed, and continue to explore, new ways for
                 people to use technology, such as augmented reality and 360 video to
                 create and share more expressive and engaging content on Facebook.

                 https://m.facebook.com/terms.php/

       222.   Facebook further promises as part of its contract with Chief Bell and others:

                 INTRODUCTION

                 Every day, people use Facebook to share their experiences, connect
                 with friends and family, and build communities. We are a service for
                 more than two billion people to freely express themselves across
                 countries and cultures and in dozens of languages.

                 We recognize how important it is for Facebook to be a place where
                 people feel empowered to communicate, and we take seriously our role
                 in keeping abuse off our service. That’s why we’ve developed a set of
                 Community Standards that outline what is and is not allowed on
                 Facebook. Our policies are based on feedback from our community and
                 the advice of experts in fields such as technology, public safety and
                 human rights. To ensure that everyone’s voice is valued, we take great
                 care to craft policies that are inclusive of different views and beliefs, in
                 particular those of people and communities that might otherwise be
                 overlooked or marginalized.

                 https://m.facebook.com/terms.php/

       223.   Facebook has breached its contract with Chief Bell and others and does not in fact

deliver communication services for members “to freely express themselves across countries and

cultures and in dozens of languages,” but systematically censors conservative political messages

by Chief Bell and others.

       224.   Facebook has breached its contract with Chief Bell and others and does not in fact

provide its communication services delivered in a way to “ensure that everyone’s voice is

valued” but systematically censors conservative political messages by Chief Bell and others.




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       225.   Facebook has breached its contract with Chief Bell and others and does not in fact

“craft policies that are inclusive of different views and beliefs,” but systematically censors

conservative political messages by Chief Bell and others.

       226.   Facebook also promises members including Chief Bell as part of its contract:

                 REITERATING OUR COMMITMENT TO VOICE

                 The goal of our Community Standards has always been to create a
                 place for expression and give people a voice. This has not and will not
                 change. Building community and bringing the world closer together
                 depends on people’s ability to share diverse views, experiences, ideas
                 and information. We want people to be able to talk openly about the
                 issues that matter to them, even if some may disagree or find them
                 objectionable. In some cases, we allow content for public awareness
                 which would otherwise go against our Community Standards – if it is
                 newsworthy and in the public interest. We do this only after weighing
                 the public interest value against the risk of harm and we look to
                 international human rights standards, as reflected in our Corporate
                 Human Rights Policy, to make these judgments. As such, we consider
                 the newsworthiness of content posted by anyone, including news
                 organizations and individual users. For example, we have allowed
                 content that graphically depicts war or the consequences of war where
                 it is important to public discourse.

                 Our commitment to expression is paramount, but we recognize the
                 internet creates new and increased opportunities for abuse. For these
                 reasons, when we limit expression, we do it in service of one or more
                 of the following values:

                 Authenticity: We want to make sure the content people are seeing on
                 Facebook is authentic. We believe that authenticity creates a better
                 environment for sharing, and that’s why we don’t want people using
                 Facebook to misrepresent who they are or what they’re doing.

                 Safety: We are committed to making Facebook a safe place. Expression
                 that threatens people has the potential to intimidate, exclude or silence
                 others and isn’t allowed on Facebook.

                 Privacy: We are committed to protecting personal privacy and
                 information. Privacy gives people the freedom to be themselves, and to
                 choose how and when to share on Facebook and to connect more
                 easily.




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                  https://m.facebook.com/communitystandards/

       227.    Facebook breached its contract with Chief Bell including by removing his

warnings from history and arguments about the Second Amendment as a candidate for Congress

whom would be called upon to vote on such matters if elected to Congress.

       228.    Facebook breached its contract with Chief Bell including by removing his

questions about the public health responses to COVID-19 as a candidate for Congress whom

would be called upon to vote on such matters if elected to Congress.

       229.    Facebook breached its contract with Chief Bell including by removing his

questions about conflicts of interest by civil servant Dr. Anthony Fauci as a candidate for

Congress whom would be called upon to vote on such matters if elected to Congress.

       230.    Facebook has breached this contractual promise and does not in fact “create a

place for expression and give people a voice.”

       231.    Facebook has breached this contractual promise and does not in fact fulfill its

promise that “This has not and will not change.”

       232.    Facebook has breached this contractual promise and does not in fact implement its

contractual promise of “Building community and bringing the world closer together [which]

depends on people’s ability to share diverse views, experiences, ideas and information.

       233.    Facebook has breached this contractual promise and does not in fact allow

“people to be able to talk openly about the issues that matter to them, even if some may disagree

or find them objectionable.”

       234.    Facebook has rendered its community standards requirements unenforceable with

self-contradiction such as “In some cases, we allow content for public awareness which would

otherwise go against our Community Standards – if it is newsworthy and in the public interest.”




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Facebook has provided no standards or guidelines to define what “some cases” might be.

          235.   Chief Bell has no way of knowing in advance if his posts as a candidate would

qualify as one of those “some cases” that would be “newsworthy and in the public interest.”

          236.   Facebook has breached its contract by attempting to transform its community

standard that “Expression that threatens people has the potential to intimidate, exclude or silence

others and isn’t allowed on Facebook” from a prohibition of actual physical threats into “a

heckler’s veto” of speech someone disagrees with as an “expression that threatens.”

          237.   On the contrary, it is Facebook’s actions themselves which “intimidate, exclude

or silence others” with the chilling effect of unclear, inconsistently-applied “standards.”

          238.   Facebook has breached its contractual promise:        “As such, we consider the

newsworthiness of content posted by anyone, including news organizations and individuals

users.”

          239.   Facebook does not in fact consider the newsworthiness of content including from

a Congressional candidate laying out his agenda and platform.

          240.   Although it would still be abusive, Facebook could actually label those “some

cases” which Facebook is displaying on account of being newsworthy so that people would

understand the context of the post.

          241.   Facebook could actually label display of those “some cases” which Facebook is

displaying as being the political platform of a candidate for elected office and thus newsworthy.

          242.   Facebook has promised to make its rules clear:

                   4. Disputes
                   We try to provide clear rules so that we can limit or hopefully avoid
                   disputes between you and us.
                   https://m.facebook.com/terms.php/

          243.   Facebook further promises its members:



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                  If we remove content that you have shared in violation of our
                  Community Standards, we’ll let you know and explain any options you
                  have to request another review, unless you seriously or repeatedly
                  violate these Terms or if doing so may expose us or others to legal
                  liability; harm our community of users; compromise or interfere with
                  the integrity or operation of any of our services, systems or Products;
                  where we are restricted due to technical limitations; or where we are
                  prohibited from doing so for legal reasons.

                  https://m.facebook.com/terms.php/

       244.    As explained above and as alleged here, Facebook’s “rules” such as community

standards are completely mysterious, vague, ambiguous, and unclear.

       245.    Facebook does not, in fact, try nor succeed to provide clear rules.

       246.    Facebook intentionally, knowingly, and willfully attempts to use vague, vacuous

platitudes to evade accountability and engage in arbitrary and capricious whim so that it can

censor speech with which Facebook employees disagree.

       247.    Facebook also promised:

                              ***
                  Where we take such action we’ll let you know and explain any options
                  you have to request a review, …

                  You can learn more about what you can do if your account has been
                  disabled and how to contact us if you think we have disabled your
                  account by mistake.
                               ***
                  https://m.facebook.com/terms.php/

       248.    Facebook breached its contract by not informing Chief Bell or others of why his

account was disabled, what community standards or rules Facebook contends were violated, in

what way any community standards were violated by his posts, or how to contact Facebook

about it or bring a mistake to Facebook’s attention.

       249.    Facebook prevents members from being able to draw mistakes to its attention,

thus breaching its contractual promise to Chief Bell and others.



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       250.    Facebook further promises its members in its contract with Chief Bell:

                              ***
                  Unless otherwise required by law, we will notify you before we make
                  changes to these Terms and give you an opportunity to review them
                  before they go into effect. Once any updated Terms are in effect, you
                  will be bound by them if you continue to use our Products.
                              ***
                  https://m.facebook.com/terms.php/

       251.    Facebook has breached its contract with Chief Bell and others and does not in fact

notify Chief Bell of its fluid, ever-changing, non-specific and subjective community standards at

any time, much less when changed. Facebook does not allow members like Chief Bell “an

opportunity to review them” at any time, much less before they go into effect.”

       252.    Facebook has breached its contract with Chief Bell, proximately causing Chief

Bell with increased costs of communication services with voters of Virginia’s Second

Congressional District and lost donations in fund-raising appeals.


                                 SECOND CAUSE OF ACTION
                                    (Declaratory Judgment)

       253.    Plaintiffs repeat and re-allege all of the previous allegations of the entirety of this

Complaint, including in other causes of action, and incorporate them herein in support of this

count with the same force and affect, as if fully set forth herein again at length.

       254.    Plaintiff seeks declaratory judgment pursuant to Rule 57 of the Federal Rules of

Civil Procedure ("FRCP") and 28 U.S.C. §2201, et seq. to clarify Plaintiff's rights and

obligations as to what he can use the communication services of Facebook for and whether

Facebook can censor his speech and block his access to and use of Facebook to communicate

with the voters of the Second Congressional District of Virginia and supporters nationwide.

       255.    Pursuant to 28 U.S.C. § 2201, declaratory judgment under federal law is available




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“In a case of actual controversy within its jurisdiction,” such that “any court of the United States,

upon the filing of an appropriate pleading, may declare the rights and other legal relations of any

interested party seeking such declaration, whether or not further relief is or could be sought.”

Moreover, “Any such declaration shall have the force and effect of a final judgment or decree

and shall be reviewable as such.” Id.

          256.   Here, there is a present controversy as to whether Facebook’s admitted contract

with Chief Bell enables Facebook to deny the communication services Facebook has promised to

provide to Chief Bell without identifying what standard or rule Chief Bell has violated and

identifying in what way his posts violated any standard or rule.

          257.   Here, there is a present controversy as to whether Facebook’s admitted contract

with Chief Bell enables Facebook to deny the communication services Facebook has promised to

provide to Chief Bell without providing a right of appeal of mistaken denials in a manner that

actually functions and informing Chief Bell of to whom and how Chief Bell may lodge an

appeal.

          258.   Here, there is a present controversy as to whether Facebook’s admitted contract

with Chief Bell enables Facebook to deny the communication services Facebook has promised to

provide to Chief Bell by alleging that Chief Bell’s posts violated vague, non-specific, subjective,

aspirational “community standards.”

          259.   Here, there is a present controversy as to whether Facebook’s “community

standards” are unenforceable as part of its contract with Chief Bell because they are vague,

ambiguous, subjective, and superficial platitudes which focus on aspirational outcomes rather

than actual standards that a user can follow.

          260.   Here, there is a present controversy as to whether Facebook’s “community




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standards” are unenforceable as part of its contract with Chief Bell because they are constantly

changing, without notice to Facebook’s members.

       261.    Here, there is a present controversy as to whether federal statute Section 230 of

the Communication Decency Act provides Facebook with immunity from suit when Facebook

has acted in manifest bad faith.

       262.    Here, there is a present controversy as to whether Section 230 of the

Communication Decency Act provides Facebook with immunity from suit for breach of contract.

       263.    Here, there is a present controversy as to whether Section 230 of the

Communication Decency Act provides Facebook with immunity from suit for denial of service

outside the terms of Section 230, as set forth in detail in Section IV of this Complaint, infra.



                                   THIRD CAUSE OF ACTION
                                   Deceptive Trade Practices Act

       264.    Plaintiffs repeat and re-allege all of the previous allegations of the entirety of this

Complaint, including in other causes of action, and incorporate them herein in support of this

count with the same force and affect, as if fully set forth herein again at length.

       265.    For the reasons set forth in detail above, and by the actions of Facebook alleged

above, Facebook has misrepresented its offered services, engaging in a “bait and switch”

deceptive trade practice.

       266.    Services are covered by the Deceptive Trade Practices Act.

       267.    For the reasons identified above in detail, Facebook has deceptively

misrepresented the services that it advertised and offered to the public and in fact denied those

services and did not deliver the services promised for all of the many reasons identified above.




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                              FOURTH CAUSE OF ACTION
                  Breach of Implied Covenant of Good Faith and Fair Dealing

       268.    Plaintiffs repeat and re-allege all of the previous allegations of the entirety of this

Complaint, including in other causes of action, and incorporate them herein in support of this

count with the same force and affect, as if fully set forth herein again at length.

       269.    For both California’s and Virginia’s Implied Covenant of Good Faith and Fair

Dealing, this duty is a term implied into every contract.

       270.    Therefore, the breach of the duty is a form of standard breach of contract.

       271.    However, California precedents in particular appear to treat a cause of action

under the covenant as at least potentially a separate cause of action from breach of contract.

       272.    Here, as alleged in detail above, Facebook breached the implied covenant by

multiple acts of bad faith serving to frustrate, degrade, and undermine the benefit of the bargain

for Chief Bell and others from the contract.

       273.    By depriving Chief Bell in bad faith of the promised services, Facebook has

breached the implied covenant and deprived Chief Bell of much of the value contracted for.

                                 FIFTH CAUSE OF ACTION
                        Deprivation of Civil Rights under 42 U.S.C. 1983
                           (First Amendment Right to Free Speech)

       274.    Plaintiffs repeat and re-allege all of the previous allegations of the entirety of this

Complaint, including in other causes of action, and incorporate them herein in support of this

count with the same force and affect, as if fully set forth herein again at length.

       275.    Unlike private companies, Facebook purports to be acting pursuant to a federal

statute, Section 230 of the Communication Decency Act.

       276.    42 U.S.C. 1981 requires that:

                      ***



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                     (c)Protection against impairment

                     The rights protected by this section are protected against impairment
                     by nongovernmental discrimination and impairment under color of
                     State law.
(Emphases added.)

        277.   Thus, defendants who are not themselves governments or government actors are

subject to 42 U.S.C. 1983, if they are acting under the color of law.

        278.   The U.S. Department of Justice’s guidance “Deprivation of Rights Under Color of

Law,” https://www.justice.gov/crt/deprivation-rights-under-color-law, clarifies that acting under

color of federal law is also included within the provision of 42 U.S.C. 1981(c).

        279.   Here, although Facebook is a private company, it is depriving U.S. citizens of the

right of free expression as “nongovernmental” discrimination or impairment of Chief Bell’s

constitutional and civil rights “under color of” federal law.

        280.   Acting under color of law, Facebook has deprived Chief Bell of his rights of free

speech guaranteed under the U.S. Constitution in violation of 42. U.S.C. 1983.

        281.   Furthermore, acting under color of law, Facebook has retaliated against Chief Bell

for his exercise of his rights of free speech guaranteed under the U.S. Constitution in violation of

42. U.S.C. 1983.

        282.   A violation of constitutional rights even for brief periods is redressable. See, e.g.,

Mills v. District of Columbia, 571 F.3d 1304 (D.C. Cir. 2009).

        283.   Facebook has proximately caused constitutional and financial harm to Chief Bell

by – acting under a federal statute – depriving Chief Bell of his rights of free expression.

VII.    PRAYER FOR RELIEF

        WHEREFORE, Lead Plaintiff Chief Bell respectfully requests that the Court issue an

injunction against the Defendant from depriving him as a candidate for Congress of his ability to



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communicate with the voters of Virginia’s Second Congressional District and others nationwide,

issue a declaratory judgment construing Section 230 of the Communications Decency Act and

the rights and obligations of the parties under their contract, and award him such damages as he

will prove to have suffered, and for such other relief as the Court deems proper.

                                DEMAND FOR JURY TRIAL

       Plaintiffs demand a trial by jury on all counts as to all issues so triable.

Dated: July 12, 2021                         Respectfully submitted,




                                             _______________________________
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